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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 BRIGHT DATA LTD.                              §
                                               §
 v.                                            §   Case No. 2:19-cv-00396-JRG
                                               §
 CODE 200, UAB, et al                          §


                            ORDER TO PURCHASE JURY MEALS


         In the interest of justice, jurors are ordered to remain together during breaks and meals in

the above-referenced case during deliberations. The deputy-in-charge or courtroom deputy is

authorized to purchase meals for sequestered eight (8) jurors until a verdict is rendered to this

Court.


         So Ordered this
         Oct 19, 2021
